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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                        ,
                                              Wendover Productions, LLC, a Limited     CaseCompany;
                                                                                   Liability No. 5:24-cv-09470-BLF
                                                                                                       Businessing, LLC, a Limited Liability C
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          PAYPAL, INC.,                     ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Leigh S. Montgomery          , an active member in good standing of the bar of

                                  11   State of Texas                         , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Wendover Productions, LLC, a Limited
                                                                                                                                in the Liability C
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is John P. Kristensen                , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: 224132
                                                                                                         _________________.

                                  16
                                       4200 Montrose Blvd Suite 200 Houston,                120 Santa Barbara St., Suite C9 Santa Barbara,
                                  17   Texas 77006                                          California 93101
                                        MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (713) 554-2377                                       (805) 837-2000
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       lmontgomery@eksm.com                                 john@kristensen.law
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 24052214           .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court 0_______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: January 15, 2025                                       Leigh S. Montgomery
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Leigh S. Montgomery                     is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18
                                  19

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                                  27

                                  28
                                       Updated 11/2021                                   2
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                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

January 08, 2025



Re: Ms. Leigh Skye Montgomery, State Bar Number 24052214


To Whom It May Concern:

This is to certify that Ms. Leigh Skye Montgomery was licensed to practice law in Texas on May 02,
2008, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
      Case 5:24-cv-09470-BLF     Document 30     Filed 01/17/25   Page 4 of 6
                         CERTIFICATE OF SERVICE
       I certify that on Wednesday, January 15, 2025, a true and correct copy of the
attached APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC
VICE – LEIGH S. MONTGOMERY was served via CM/ECF to all participants
of record, including the following participants, pursuant to Fed. R. Civ. P. 5:

Adam E. Polk                                 Clement S. Roberts
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 Attorney for Defendant PayPal, Inc.         213-612-2373
                                             Fax: 213-612-2499
                                             Email: gmoss@orrick.com

                                             Attorneys for Defendant PayPal, Inc.
      Case 5:24-cv-09470-BLF   Document 30     Filed 01/17/25   Page 5 of 6
                       CERTIFICATE OF SERVICE


       I certify that on Wednesday, January 15, 2025, a true and correct copy of
the attached APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC
VICE – LEIGH S. MONTGOMERY was served via Electronic Mail or First
Class Mail to counsel of record, including the following participants:

Gary M. Klinger                            John J. Nelson
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Adam E. Polk                               Clement S. Roberts
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                      CERTIFICATE OF SERVICE

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                                       Attorneys for Defendant PayPal, Inc.



                                       /s/ John P. Kristensen
                                       John P. Kristensen
